               Case 2:13-cr-00267-TLN Document 65 Filed 06/30/15 Page 1 of 2


 1
     Jason Lawley SBN: 232156
 2
     901 H Street, Suite 674
 3   Sacramento, CA 95814
 4   (916) 548-2066
     Email: Mjasonlawley@hotmail.com
 5
 6
 7
          IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
 8
                                              CALIFORNIA
 9
10
     THE UNITED STATES OF AMERICA,                ) CASE: 2:13-cr-267
11
                                                  )
12                                                )
                      Plaintif                    ) STIPULATION AND ORDER
13                                                )
     v.                                           ) DATE:
14
                                                  ) TIME:
15   Luis Bustamonte                              ) Courtroom
                                                  )
16                    Defendant                   )
17   ______                                       )

18
            IT IS HEREBY STIPULATED by and between Benjamin Wagner, U.S. Attorney,
19
20   through Assistant United States Attorney Justin Lee, attorney for Plaintiff, and Jason Lawley,

21   attorney for Luis Bustamante, and Douglas J. Beevers attorney for Ferlando Carter that the status
22   conference scheduled for July 2, 2015 be vacated and be continued to August 27, 2015 at 9:30
23
     a.m. The grounds for this continuance are that Defense counsel for Mr. Bustamonte would like
24
     time to discuss options for potential resolution, continued review of discovery and defense
25
26   investigation, and otherwise prepare for trial. Based upon the foregoing, the parties agree time

27   under the Speedy Trial Act should be excluded from this order’s date through and including
28   August 27, 2015; pursuant to 18 U.S.C. §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare]



           1 Stipulation and proposed order
               Case 2:13-cr-00267-TLN Document 65 Filed 06/30/15 Page 2 of 2


 1   and General Order 479, Local Code T4 based upon continuity of counsel and defense
 2   preparation.
 3
 4
 5
 6
 7   DATED: June 29th, 2015
                                                                   /s/JASON LAWLEY
 8                                                                 Attorney for Luis Bustamante
 9
10   DATED: June 29th, 2015                                        /s/JUSTIN LEE
                                                                   Assistant U.S. Attorney
11
12
     DATED: June 29th, 2015                                        /s/ DOUGLAS J. BEEVERS
13                                                                 Attorney for Ferlando Carter
14
15
16
17   IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’

18   stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
19   its order. The Court specifically finds the failure to grant a continuance in this case would deny
20
     counsel reasonable time necessary for effective preparation, taking into account the exercise of
21
     due diligence. The Court finds the ends of justice are served by granting the requested
22
23   continuance and outweigh the best interests of the public and defendant in a speedy trial.

24   Dated: June 29, 2015
25
26
27
                                                           Troy L. Nunley
28                                                         United States District Judge



           2 Stipulation and proposed order
